 

 

Case 4:17-CV-0387Z_ Document 30-6 Filed in TXSD on 95/11/18 Page 1 of 20

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4:17-cv-03877
Karll, Susan

 

From: O. Kammo

Bont: Wodnesday. Aprll 08 2015 ‘i 22 PM

To: Karl\. Susan

Sub|act: RE: Contact at HR {or workers compensation

Don Cumby phoned me back - They had it, but filed as "October“ - l explained to him, like l attempted to explain to you,
that l couldn't say exactly what DAV or when, that's it's been an orr-going situation since early 2013. That Frlday,
3/27/2015, while entering reports on that iPad ls when l finally could not stand looking down at it anymore. My neck
and right ear have BEEN bothering me for quite some time. lt's just gotten to the point the ache makes me nauseous.

Beginning 2012/2013 l‘ve asked/explained to Richard Fegan, james Rainer, Christina Robertson and Dave Leiger many
different times that entering the reports on the iFad is tedious, time consuming, often fails to iunctlon/sync and is
uncomfortabie. 'Why can’t l use the desltlop with the larger screen and real kevboard?" l just hadn‘t linked the

ear/neck discomfort to the ergonomics of lt until Friday ~ because i just could not KEEP looking down, so l was holding it
upinthe air in frontal me.

For the longest time l have BEEN attempting to explain that the FireHouse application is not reliable or accurate and that
the iFad is way more work than any inspection data situation previous here at EHS that l am aware ol.

Whatl am told is basically, "lt‘s been paid tor" and “it's what we have to use“. From beginning to use the iPad
application in late 2012 until after Dave Zelger was hired - and has worked on communicating with Fireliouse to ED|T the
application list olitems. late 2014 early 2015 - there was literally 26.5 FEET of items to scroll through to enter one

ltem. Early on if there was a change or edit to a report POF. Richard Fegan would have me RE Enter the entire

rcport. Forwlsenbaker- that was 11 pages ot notes, FOuR times

il l had thought that dealing with Firel-louse & the iPad was going to create the hearing issue and neck pain that l have
been having -l certainly would have complained MORE than the verbal & wntten As it has been. i'm just emotionally
and physically tired of attempting to explain what l need to do the job proliclentiy, why and what is not working with the
FireHouse application and the lPad. because the general reactions l receive have been excuses and invalidations Oniy

since Dave Zeiger arrived 9/2014 has the application actually been edited down to 48 ltems, from the original 108 items
@ 26.5'.

\ originally left the "date of injury" blank because l just couldn't say exactly what date my neck hurt or my ear did that
mona/stereo thing? l explained this to Don Cumby and with my permission, he is going to change the ”date of lnjury" to
3-27-2015 which is when the injury form was filled out. (\ put the form in Dave lelger's mailbox after not seeing him

Frlday 3/27 ~ then he didn't find it, because his mailbox moved, until 3/31/2015 Tuesday, after l asked him il he had
gotten it, because he hadn'l said anything about it to Me?)

\went to the t`.hlropractor today (4 8 2015) -
on/ofi thing is the bone in my necit.
As lar as your suggestion that it "could just be age“ or "old horse related injury” - l haven't had any notable physical

injury for almost a decade and the numbness in my lace has always been towards the end of the day at EHS after sitting
at my desk, peclung and scrolllng on that FireHouse application via the iPad.

according to Cl\fl Wailter. the bump l can press to switch the hearing

Sincerely,
ltamme 0

t<ommo 0 | Ftre inspector itt
Environmontal Hoallh and Salaty | Teue A&M university
ph: 979.8624040{|¢)\ 979..84513481

” f555
Kamme O \/S Texas A&l\/l Unlver$ily, Environmet\lai Heaith And Safeiy 4u3 0

Plaintiff‘s EXHIBIT 10

4.17-cv-03877

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From: Bai Kaye
To: 0 Kamme
subject: RE: s&w forms from 05-22-2015 4: 1 7-CV-O3877
Date: Thursday, May 28, 2015 1:48:31 PM
Hi l\/ls. O.

l did receive the notes from Walker Chlropractlc and | have requested the notes from the
visit at Scott & Whlte. l will let you know when l have received these and reviewed everything

Thank you,
Kaye Ba|l

Kaye Ba|| | C|aims Adjuster
Ofi'lce of the Treasurer | Risk l\/lanagement

kbg||@tgmus.edu

1262 TAlVlU | College Station, TX 77840-7896
Tei. 979-458-6330 [ Fax 979-458-6247 | W.tamus.edu

 

John B. Conna||y Buiiding
301 Tarrow. 5th F|oor
Co||ege Station, TX 77840-7896

Tnc Tr.\'.\s A&M UNIvF.RStTY SvsTF.\i

From: O, Kamme [mai|to:kammeo@tamu.eclu]
Sent: Thursday, May 28, 2015 12:50 PM

To: Ba|l, Kaye

Cc: ‘hk-|aw@austin.rr.com'

Subject: S&W forms from 05-22-2015

l<av,

l-lere are copies of the doctor visit paperwork last Friday, 05-22-2015.

V\/a|ker Chlropractic should have sent you the medical records from my visits there by now?
Let me know if you haven't gotten that into yet.

ThankYou,
i<arnmeO

Kamme 0 | Fire inspector |ll
Environmentai Hea|th and Safety | Texas A&i\/l University
ph: 979.862.4040 | fax: 979.845.1348 | k§_m_rn_e_o@t_an_ld§du

Plaintiff ' S EXHIBIT 10

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From: O, Kamme [mailto:kammeo@tamu.edu] 4:]_7_€\/_03877
Sent: Monday, June 22, 2015 9:48 AM

To: Bal|, Kaye

Cc: 'hk-law@austin.rr.com'

Subject: RE: S&W forms from 05-22-2015

Haven’t heard back from you..? Have been waiting to go to the doctor - until after you got
back with me about this.

This situation reminds me of how Scott & White once sent me a letter denying the cost of
the ambulance “based on the diagnosis”. Then l had to write & complain - “Gee, so you are
saying unless l can diagnose myself first or l’m DEAD don’t call for an ambulance?” *They
paid it, but l had to complain.

This First Report of injury experience has been less than helpful to say the least. |t's like,
“Wanna be treated like a liar? Sign here. - We will ignore you promptly right after we check
the DENY box.”

Pain is an unseen type thing. l resent having to “SCREAM” or complain to be believed.

l wouldn’t have filled out the form if my ear was not doing the ON/OFF thing due to the bone

in my neck - and l know it’s the ergonomics of that iPad & tediously slow FireHouse

application because ifl lGNORE that iPad and stay away from it- and go on VACAT|ON

instead - My neck stops aching & l can HEAR. As it has been, l’m behind on entering reports - but l
FEEL better.

l’d still like to be able to HEAR without the bone in my neck pressing on my ear.
lt would be a nice surprise if “the system" actually PRACT|CED what it PREACHES = “We are here for
you”???

Translates into, “We are here to invalidate & ignore you. Have a nice day."

First Susan Karli suggests it’s MY AGE or an old injury and she “wasn’t sure if she COULD
submit the claim” - and then the only paperwork that arrives is “DENlED” - when there was
NO investigation.

After that, l phone you & you tell me you will get back with me..????

So, did you get the rest of the papenivork from the chiropractor that l DlD go to?

Are you just expecting me to disappear, because it seems that way to me on this end.

l’m not the type to rack up a bunch of bills & then argue over who pays what, but my hearing does turn on
an off on the right & my neck still aches - l’ve just been avoiding what’s uncomfortable to do. 26.5 FEET
of scro|ling thru an application, to insert anything into the form, since 2012 = iPad ergonomics FA|L.

Waiting to be approved,
Kamme O

Kamme O | Fire lnspector lll
Environmental Hea|th and Safety | Texas A&M University
ph: 979.862.4040 | fax: 979.845.1348 | kammeo@tamu.edu

www.tamu.edu

Plaintiff ' s EXHIBIT 10

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From: lsatli._$.u§.an_l§
To: guiseme ~
cc= amn._dmnna§ 4-17'CV'O3877
Subject: FMLA Packet
Date: Tuesday, June 30, 2015 8:24:07 AM
Attachments: magg)_()_l_,gng
FM - i
Kamme_LU_L/L§meuettecmf
§¥stem_EamiLy_Medi_caLLea)Le.w_f

 

After our discussion on Friday and falling back on the training of the information for FMLA l still feel |
need to provide you with this packet so you have the benefit of what it offers. l have attached the
packet. P|ease review the information included in the packet is the ”Employees Condition/
Physicians Certification". This form needs to be filled out by your physician and returned to me
within 15 days

Thank you,
Susan

Susan Karli l Business Administrator 1

l"wv 5-'*" HR Liaisan

 

Environmental Hea|th and Safety l Texas A&M University
4472 TAl\/lU l College Station, TX 77843-4472

ph: 979.862-8114 / faX: 979.845-1348/ §usan.karl`@tamu.edu

|t's Time for Texas A&M

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4:17-CV-O3877

From: Q._Kattime

T°= lE§L_@Y§l

Cc "[ikeiaw@au§tin.rr cgm"

Subject: RE: nght to Appeal

Dlde: Tuesday, July 14, 2015 1:18:25 PM

 

"it does not show a direct correlation" - based on what exactin

l’m the one that knows \i'\/i-iEi\i & Wi-iAT creates stress/pain in my neck, upper back & inner ear.

There's been no "inyes:igation” of my work environment ithat i arn aware of. So, how could you possibly kNOV\/?
i phoned the number you supplied Thank you, They’ii do whatever it is that they do.

KammeO

Kamme 0 | Fire inspector lli
Environmental Hea|th and Safety i Texas A&M University
ph- 979.362.4040 | iax; 979.645,1348 | gammag@iamu ego

From: Ball, l<aye [mai|to:l<Ball@tamus.edul
Sent: Tuesday, july 14, 2015 8:49 AM

To: O, Kamme

Subject: RE: Right to Appeal

i\/!s. O,

i have reviewed the medical notes that i received from Walker Chiropractic and the )<-ray from Scott & White it does not show a direct
correlation between your work environment and the problems you are having with your neck and ear, Your claim is denied ifyou would like to dispute
this

decision, you will need to contact The Texas Departrnent of |nsurance»Division of \/\/orkersl Corripensation to request a Benet't Review Conference,
The number is 1-800¢252¢7031. The Office of injured Employee Council has an ombudsman that can assist you at no charge to you.

Thank you,
Kaye Ball

Kaye Ba|| | Claims Adjuster
thce of the Treasurer | Risk Management

iseatl@.tanms§aiu

1262 TAMU j Co|lege Station, TX 7784(>7896
Tel. 979-458-6330 \ Fax 979~458-6247 j Mmi.is._e§g

Jonn B. Connai|y Buiiding
301 Tarrow, Sth F|oor
Co|lege Station. TX 77840-7896

Tim Tsx,\s A&M U\\\'F.st\' S\'sw.\i

From:O,Kamme[rn il ~ m .@ m.
Sent: Monday, July 13, 2015 9:43 AM
To: Ball, Kaye

Cc: 'hk-law@austin.rr.com'
Subject: Right to Appeal

Good i\/lorning i<ay,

So what did ever happen after this email? My neck still aches and rny ear still does that on & off thing.
Far as | know, no copy of the original document ever made it to El-iS,

And the date on the form should have read 03/27'2015, = when i filled it out.

Seerns like Susan Karli changed the date to suit HER speculation that “it's probabiyjust age - or an old horse related injury" and that she knew it
would get tossed out because of this 30 report thing:

You have the responsibility to tell your employer if you have
been injured at work while performing the duties of your
job. You must tell your employer within 30 days or"the date you
were injured Or First knew your injury or illness might be \':ork~
related

l reported it as soon as i figured out WHAT was making my neck hurt - because i could not look at that iPad in my lap or on the desk anymore - and
| only found out about the ear being neck related when | went to the chiropractor.

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And anytime i asked Susan Karli about what to do or how to know - She was basically, ”i don’t know".

She came into my office after my supervisor gave her the form i filled out and told me SHE didn't know if she could submit it as an injury or not?
The whole situation caught me off guard = You think you know someone until you find out that you don't.

Susan Karli has been grumpy - unhelpful and just completely different from who l thought she was ever since i submitted that injury report

And recent|y, she called me into her office and ”ever~so-sweetiy" offered me FMLA What is Ti-iAT about?
iiust declined
Then she entailed me all the FMLA info anyway. That's weird. What's the REAl_ reason for doing that?

March 27, 2015 iS exactly the date that | noticed the connection between my neck & that iPad, because |just couldn’t MAKE myself do it without
holding it UP above my shoulders i've been avoiding it as much as possible

The pain meds the S&W doctor gave me totally l<NOCi< ME OUT ~ even if i take a fourth of it. l’d really rather find another way to ease the neck
stress, which is why l went to the chiropractor.
if l have to locate one that will accept the worker’s comp situation - then i will, but i am waiting on you to do what it is that you do.

l’d appreciate it if you would take care of this - so l can take care of my neck.

Sincereiy,
Kamme O

Kamme 0 i Fire inspector iii
Environmental Heaith and Safety | Texas A&M University
ph: 979.862.4040 j fax: 979.845.1348 | kammeo@tamu__ad_u

 

 

From: Ea' kaye
To; 'i t~,.~-“a
Subject: RE: S&W forms .‘r:im 05-21-10'_5
Date: ,'ri.iisday'. i-l¢y 2-5. 2025 1;43:31 1'.`-l
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Kaye Ball i Claims Adjuster
Oft"ice of the Treasurer l Risk Management

1262 TAMU l Coiiege Statiori. TX 77840-7896

Tel. 979~458-6330 l Fax 979-458-62471¥:3!111.12[1.!-1$.§£'&" `-
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July 23, 2015

Kamme O
PO Box #1231
Col|ege Station, TX 77841-1231

Dear Kamme:

This letter is written to notify you of your leave status and inform you that previous
absences noted below will not be designated as leave under The Family and lViedical
Leave Act (FlVlLA) at this time.

You were notified in a letter dated (7/16/2015) that you had not provided us with the
necessary information to certify your FMLA leave and were given an additional seven
calendar days to tend to our request. We have not received the Ceitification of Hea|th
Care Provider form or other sufficient information as of today’s date. Unless and until the
required documentation is provided, your absences below will not be designated as
FMLA leave. Without that designation, the absences below will not be FMLA protected
and will be considered to be unapproved:

6/16/2015 - 2.5 hours

6/18/2015 - 2.00 hours
6/26/2015 - 4.00 hours
7/13/2015 - 4.50 hours

System policy requires that you provide appropriate medical documentation to account
for your use of sick leave in instances where you are absent from work due to your own
medical condition or your need to care for an eligible family member who is ill or injured.
Accordingly, please note that your use of leave during the date(s) above is under review
to ensure you have provided sufficient documentation to account for your absences

The leave’s designation under review may be restricted or changed to other appropriate
leaves (such as vacation, leave without pay, etc.) in the event we find you have not
provided us with appropriate documentation Additiona|lyl please be aware that you may
be subject to disciplinary action for your absences where allowed by Texas A&M rules
and regulations

Please do not hesitate to call me at 862-8114 if you have questions about FMLA leave,
your leave status, or the contents of this letter.

Sincerely,

 

Liaison or appropriate designee date

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EMPLOYEE ACKNOWLEDGMENT

l received a copy of this letter on (date).

 

Employee Signature
OR

CERT|F|ED MA|L # (if employee is unavailable)

 

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EXHIBIT 11

TERMINATION APPEAL DENIED

> 08-13-2015 email to VP Strawser about FIREHOUSE issues
and false dates of inspection. - 6pgs

> 05-20~2016 Plaintiff's letter of appeal to VP Strawser
-2pgs

> SEE Appeal Presentation included on CD

> 05-23-2016 TAMU Letter - Appeal Denied - lpg

4:17-cv-03877 Kamme 0 v TAMU, TAMUS & Defendants

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From: Q._MLTJ§

To: i<i w i

CC= ilQb_eiI§Qn..Cii_Li$_tiila_E;iiie_ld_s._lo.bn_B
aoc: r r r R

:::ei?cr= FH notes 4117-CV-03877

Thursday, August 13, 2015 4:01:39 PM

 

`i'o who it may concern,

Since late 2012 l have attempted to address assorted issues as they presented themselves with the
FireHouse inspection application by keeping notes, creating lists, screen shots, verbally expressing and
numerous emails to Richard Fegan, lames Ralner and Christina Robertson, and then David Zeiger. Before
David Zeiger edited FireHouse earlier this year (2015) the application literally had 26.5' of items to scroli
through, some of them repeats. i have been personally inspecting buildings at the TAi\/iU campus since 1999
- and it is beyond me why no one at EHS has ASKED for any input or what items do i find most often?

Here i am again _ as i edit the 0443 O&l\/l inspection ~ | took time to SN|P a few issues, noted
below. i have never understood why the inspectors are forced use a tedious, undependab|e application on
an lPad, instead of creating a WORD document and saving it as a PDF using a full size keyboard and
monitors. There are roughly 250 discrepancies listed for the most recent 0443 O&i\/l inspection but one
would have to count that up by hand because the FireHouse program does not number the individual items.

lust a list of items to remind whoever deals with FH tech support:

1.) Defau|t ”YES to All" (deiete NA) would save having to touch the screen up to 19 times just to begin
an inspection

2.) Defauit WHO the inspector is ~ as building is assigned & sent. (instead of having to scroll & choose
seif)
De|ete employees from Fl-l that are no longer inspecting or work for EHS.
Fi-l does not number each discrepancy

3 l

4 l

5.) No need to have a place for the Z"d signature at the end of the report. (Fl-i requires a scribble there)

6 ) FH inserts whatever DATE the iPad thinks it is - have to adjust the iPad SETT|NGS for the inspection
report to have the actual correct inspection date, before completing the report within the
application

~ ‘rirei loose space missing between "'<"YL-./tlrii.ibstructeci”'

 

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items that fi§§ r_ri i;ii';nti a

Plaintiff'S EXHIBIT 11

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21.; iam
22.) iam Eievator

23.) Elevator room 1400 level

24,) 601 custodial
25_) 603 Communications

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Note l _) Basement l»~lechanical Room

 

Plaintiff's EXHIBIT 11

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Plaintiff ' S EXHIBIT 11

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Plaintiff's EXHIBIT 11

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_»4;17-cv-03877

Te sas A&M Unlvers|iy

 

Fer & Llfe Safety Audlt lnspecllon:
Environmenlal Hea|th and Safety_gspartmenl j Fab lB. ZCOl

Dale of

 

   
   

' Bul|dlng Name:
_ Cer-teq Re~aearch Lab

 

 

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Steve Arderi

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Sincere|y,
KammeO

Kamme 0 | Fire inspector ll|

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Environmental Hea|th and Safety | Texas A&M University
ph: 979.862.4040 | fax: 979.845.1348 | kammeo@tamu.edu

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Plaintiff ' s EXHIBIT 11

4.17-cv-03877

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From= ZngeL_llay_iQ.ML

To= Q._Kar_rim§;LaLeL_a_rlle Lr ;Qm._la_cszb_&;£a_lke._&ris;l;ebx.&nnsmizli_ecf
Cc: llajll€h_]§m§§

Subject: IPad Update

Date: Thursday, February 05, 2015 12:57:21 PM

 

l spoke with Firehouse rep. today and asked about the latest update for the IPad and if it
would affect Firehouse. He stated that it would and not to down|oad it until they have worked
out all the issues. Apparent|y the new update and Firehouse are not compatible They are
working on it.

Thanks,

paula Zé/' /»

Environmental Health and Safety l Fire lnspections
Texas A&l\/l University

4472 TAl\/lU l College Station, TX 77843-4472
979-845-8760

dyyzelger@tamgl.edll

Plaintiff's EXHIBIT 11

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TO: Jerry R. Strawser
Vice President and Chief Financial Officer

FROM: Kamme O
P.O. Box 1231
Col|ege Station, Texas 77841
bestillandknow.kammeo@gmai|.com

DATE: l\/lay 20, 2016
APPEAL: 2016 Retaliation Termination
Dear Dr. Strawser,

There have been many written words via Texas A&M University's complaint process. Each letter
on my case from Texas A&M University ignores and invalidates the experiences of discrimination and
retaliation that l have been subjected to during my employment at Texas A&M University. Almost
exactly twenty years after Texas A&M University first asked me, ”What do you want?" the answer
remains the same: l would like to do myjob without harassment or sexual discrimination

The policy covering how many business days are allowed to investigate has been changed from
15 days to 30 days. That is a very large ”shield of protection" for Texas A&M University to protect itself,
while the employee has a mere five to seven working days to defend herself/himself Especially since it
is a difficult process to know how to even file a complaint and access to the documents is unavailable
online. Myjob was carpenter, and then safety inspector. l have no expertise in discrimination
law. Texas A&l\/l University proudly proclaims ”WE ARE HERE FOR YOU”, that has not been my
experience so far.

l have given 8,584 days of faithful service to Texas A&M University. During the experience l
sought guidance from Human Resources numerous times. As l read my calendars, what stands out is
how my confiding in Human Resources for ”guidance" merely stretched the experiences of
discrimination further apart. The discriminations continued to occur.

Texas A&M University "lost” the 1995 evaluation which l have provided. lt is evident that the
University has been waiting for me to fail or quit ever since then. During this 2015-2016 ordeal, have l
finally become aware that when l was told, ”/AM GOING TO MAKE YOU QUIT” Bill Courtenay was
speaking for Texas A&l\/l University itself.

lam the only female to successfully complete the Carpenter Apprenticeship at Texas A&M
University. And yet, Environmental Hea|th & Safety continued to refuse to acknowledge my

construction experience. l have been overlooked for promotion since 2007, shunned from access to

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meetings and denied on the job training, and almost a year of some very stressful and abusive
retaliation, all basically ignored by Texas A&M University. Because l refused to quit, Environmental
Hea|th & Safety fabricated a process to terminate my employment *Does it often require four adults to
walk into an office, shut the door and terminate one person?

Texas A&M University’s behavior is ”do as l say, not as l do". Certainly explains the large shield
on the top ofthe Aggie ring that symbolizes the desire to protect the reputation ofthe university. And
since | am the one that endangers the reputation of Texas A&M University by having filed a
discrimination complaint with the Equal Employment Opportunity Commission, investigation on-going
as | write this appea|, l suppose it is easier to orchestrate a termination, than it will be for Texas A&l\/l
University to take responsibility for the discrimination and retaliation it has enabled and supported
towards me for so many years. | appeal the decision to terminate my employment, by suggesting the

use of a mirror aimed directly towards Texas A&M University itself.

Respectfully,

Kamme 0

Plaintiff's EXHIBIT 11

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Jerry R. Strawser
Executive Vice President and Chief Financial Officer

Kamme 0
P.O. Box 1231
Col|ege Station, TX 77841

Dear Ms. O:

On May 20, 2016 l received (via email) your appeal of findings for the appeal of termination complaint dated April, 201

The original investigation report delivered to me included a complete copy of all your complaint documents filed with
Human Resources as well as additional exhibits related to completed interviews and other associated documents

 

 

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4:17-CV-03877

23 May 2016

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IT 11

relevant to the allegations Fo|lowing careful review of the grounds stated in your appeal and the record related to yourE
original complaint and appea|, l conclude that your appeal is without merit and is therefore denied. Pursuant to section :l:
4.5.1 of System Regulation 08.01.01, C/'vil Right$ Compliance, this decision is fina|.

Copies: Dr. Anna Satterfie|d, Employee Support Services

 

Dr. Jerry R. Strawser
Executive Vice President and Chief Financial Officer

Plaintiff's EX

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EXHIBIT 12

CD & AUDIO of REVIEW MEETING

AUDIO Of 11-20-2015 “October Review Meeting”
COPY of 11-20-2015 Transcription

260 paqe, August 2015 TAMU EEOC Response

66 page, March 2016 TAMU EEOC Amended Response
02-12-2016 PreSeDtatiOn: APPEAL OF TERMINATION

Terminated 47 work-days after COMPLAINT

4:17-cv-O3877 Kamme O v TAMU, TAMUS & Defendants

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>

EXHIBIT 12

CD & AUDIO of REVIEW MEETING

AUDIO of 11-20-2015 “October Review Meeting”
COPY Of 11-20-2015 Transcription

260 page, August 2015 TAMU EEOC Response

66 paqe, March 2016 TAMU EEOC Amended ReSponSe
02-12-2016 Presentat;ion: APPEAL OF TERMINATION

Terminated 47 work-days after COMPLAINT

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EXl-llBlT 4A 4.17~cv-03877 AUDlO 11-20-2015 October Review Meet§ng - l DARE ‘i/OU

EXl-§lBlT 413 4.17-cv-03877 transcribed 11-20-2015 Review Meeting - l DARE \’OU

EXHlBlT 12A 1A15YSZ 66og TAMU 03-04~2016 Position Statement Arnended Charge 4.17-cv-03877
EXl-ilBlT 123 1A15_7SZ TWC-CRD 260_og TAMU Position Statement with Exhibits - 4.17-cv-03877
EXHlBlT 12C 4.17-cv-0387'l’ 02-12~2016 AP’PEAL OF TERMlNATlON - Evidence SENT TO VSJ STRAWSER

EXHlBlT 120 4.17-cv-03877 47 Wori< Days after EVE WASH COMPLAINT - Terrn§nation

4:17-cv-03877 Kamme 0 v TAMU, TAMUS & Defenolants

